                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION - FLINT



IN RE:

         VPH PHARMACY, INC.,                                  Case No. 17-30077-dof
                                                              Chapter 7 Proceeding
            Debtor.                                           Hon. Daniel S. Opperman
_____________________________________/

OPINION REGARDING MOTION TO COMPEL DEBTOR TO IMMEDIATELY PAY POST-
  PETITION OBLIGATIONS AND FOR ADMINISTRATIVE RENT CLAIM UNDER 11
   U.S.C. §§ 365(d)(3) AND 503(b)(1) FILED BY CREDITOR SAAD RESOURCES, LLC

         On June 28, 2017, the Court conducted a hearing on the Motion to Compel Debtor to pay

post-petition rent and attorney fees as an administrative claim Saad Resources, LLC (“Saad”) claims

Debtor owes it under a Lease Agreement dated December 22, 2010. (“Lease”). At the conclusion

of the hearing, the Court entered a Scheduling Order on July 5, 2017, to allow briefing on this

limited issue of the amount of the attorney fees requested by Saad. After briefing on this limited

issue concluded, the Court took this matter under advisement. For the reasons stated in this Opinion,

the Court concludes that a final determination as to amount owed Saad cannot be made until the

exact amount of an setoff Debtor may be entitled to is determined. The Court further denies Saad’s

Motion to the extent it requests that attorney fees be paid as an administrative claim.

                                               Facts

         The Lease between Debtor and Saad provided for rental of commercial property to allow

Debtor to operate its business, a closed-door pharmacy located at 5376 Miller Road, Swartz Creek,

Michigan.     On January 13, 2017, Debtor filed a Chapter 11 bankruptcy petition, which was

converted to Chapter 7 on June 30, 2017. Debtor continued to occupy the subject premises until

approximately June 30, 2017. Debtor has not assumed or rejected the Lease. Saad claimed



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$8,152.50 due and owing in post-petition rent as of the date of the filing of the instant Motion to

Compel, and as of the June 28, 2017 hearing, post-petition rent and other charges climbed to

$16,057.00. Per Exhibit 2, marked at the June 28, 2017 hearing, Saad claimed total attorney fees

and costs of $12,017.90 as of that date.

       As to whether attorney fees should be paid by Debtor, now Debtor’s Chapter 7 bankruptcy

estate, Saad directs this Court to 11 U.S.C. § 365(d)(3), as well as the following two paragraphs of

the Lease1:

       16. Default Except Rent
       If Lessee shall default in the fulfillment of any of the covenants and conditions
       hereof, except default in the payment of rent, Lessor may, at Lessor’s option, after
       fifteen (15) days prior written notice to Lessee, make performance for Lessee and,
       for that purpose, advance such amounts as may be necessary. Any amounts so
       advanced, or any expense incurred or sum of money paid by Lessor by reason of the
       failure of Lessee to comply with any covenant, agreement, obligation, or provisions
       of this Lease or in defending any action to which Lessor may be subjected by reason
       of any such failure shall be deemed to be additional rental for the leased premises
       and shall be due and payable to Lessor on demand. The acceptance by Lessor of any
       monthly installment of rental hereunder shall not be a waiver of any other rental
       hereunder then due.

       If Lessee shall default in fulfillment of any of the covenants or conditions of this
       Lease (other than the covenants for the payment of rental or other amounts) and any
       such default shall continue for a period of fifteen (15) days after written notice from
       Lessor to Lessee, the Lessor may, at Lessor’s option, terminate this Lease by giving
       Lessee notice of such termination and, thereupon, this Lease shall expire as fully and
       completely as if that day were the date definitely fixed for the expiration of the terms
       of this Lease, and Lessee shall then quit and surrender the leased premises, provided,
       however, if any such default requires more than fifteen (15) days to remedy and
       Lessee is proceeding to cure such default, Lessor shall not be entitled to terminate
       this Lease on account of such default unless Lessee fails to commence ongoing such
       default promptly and/or fails to prosecute the curing of such default to completion
       diligently.

       17. Default in Rent: Insolvency of Lessee
       If Lessee shall default in the payment of the rental received hereunder, or any part
       thereof, or in making any other payment herein provided for, and any such default


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         The copy of the Lease marked as Exhibit 1 at the June 28, 2017 hearing, is very difficult
to read. Thus, any mistake in the Court’s quotation of these Paragraphs is unintentional.

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       shall continue for a period of fifteen (15) days after written notice from Lessor to
       Lessee, or if the leased premises or any part thereof shall be abandoned or vacated,
       or if Lessee shall be dispossessed by or under authority other than Lessor, if Lessee
       shall file a voluntary petition for bankruptcy, or if Lessee shall file any petition or
       institute any proceeding under any insolvency or Bankruptcy Act (or any amendment
       thereto hereafter made) seeking to effect a reorganization or a composition with
       Lessee’s creditors, or if (in the proceedings based on the insolvency of Lessee or
       relating to bankruptcy proceedings) a receiver or trustee shall be appointed for
       Lessee or the leased premises, or if any proceedings shall be commenced for the
       reorganization of Lessee, without further notice, and Lessor and Lessor’s agents and
       servants may immediately, or at any time thereafter, re-enter the leased premises and
       remove all persons and property therefrom (by legal proceedings or by force or
       otherwise) without being liable to indictment, prosecution, or damage therefor, or
       without terminating this lease to recover the leased premises as aforesaid and in the
       event Lessor agrees to use Lessor’s best efforts to re-rent said premises on behalf of
       the Lessee at whatever rent, for a term that may be more of less than the unexpired
       portion of the within Lease, and upon such other terms, provisions and conditions as
       Lessor deems advisable, supplying any moneys collected first to the payment of
       resuming or obtaining possession, and second to the payment of costs of placing the
       leased premises in rentable condition, third in the payment of any real estate
       commission incurred by Lessor in such re-renting and fourth, for the payment of any
       rental or other charges due hereunder and any other charges due Lessor. Lessee shall
       remain liable for any deficiency in rental which shall be paid upon demand therefor
       to Lessor.

       Debtor and the Trustee oppose payment of any rent owing Saad, asserting that while post-

petition rent may have been initially owed by Debtor, a set off exists for damages it has incurred due

to Saad’s noncompliance with the lease terms. Specifically, Debtor asserts “substantial damages”

have occurred to the leased property, and that Debtor has paid over $40,000 to repair such damage,

which should be a setoff against post-petition rent. Debtor and the Trustee also assert there is no

statutory basis or contractual basis for the allowance of attorney fees as the terms of the Lease

provide no mention of attorney fees.




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                                             Jurisdiction

        This Court has subject matter jurisdiction over this proceeding under 28 U.S.C. §§ 1334(a),

157(a), and 157(b)(1) and E. D. Mich. LR 83.50(a). This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A) (matters concerning the administration of the estate), (B) (allowance or disallowance

of claims against the estate), and (C) (counterclaims by the estate against persons filing claims

against the estate).

                                               Law
                         Administrative Claims Under Section 503(b)(1)(A)

        “The Bankruptcy Code grants priority to certain administrative expenses, such as the actual,

necessary costs and expenses of preserving the estate, including wages, salaries, or commissions for

services rendered after the commencement of the case.” In re Sunarhauserman, Inc., 126 F.3d 811,

816 (6th Cir. 1997). “Claims for administrative expenses under § 503(b) are strictly construed

because priority claims reduce the funds available for creditors and other claimants.” In re

Federated Dept. Stores, Inc., 270 F.3d 994, 1000 (6th Cir. 2001) (citations omitted).

        The “well-accepted ‘benefit to the estate’ test [ ] states that a debt qualifies as an ‘actual,

necessary’ administrative expense only if (1) it arose from a transaction with the bankruptcy estate

and (2) directly and substantially benefitted the estate.” In re Sunarhauserman, Inc., 126 F.3d 811,

816 (6th Cir. 1997) (citing Employee Transfer Corp. v. Grigsby (In re White Motor Corp.), 831 F.2d

106, 110 (6th Cir.1987)). “The benefit to the estate test limits administrative claims to those where

the consideration for the claim was received during the post-petition period.” Id. “[R]egardless of

the substantive law on which the claim is based, the proper standard for determining that claim's

administrative priority looks to when the acts giving rise to a liability took place, not when they

accrued. Id. at 818.




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                         Debtor’s Right to Setoff Pursuant to Section 558

       Pursuant to 11 U.S.C. § 558, a debtor may offset a debt a creditor claims is owed by the

Debtor. Section 558 states:

       The estate shall have the benefit of any defense available to the debtor as against any
       entity other than the estate, including statutes of limitation, statutes of frauds, usury,
       and other personal defenses. A waiver of any such defense by the debtor after the
       commencement of the case does not bind the estate.

       In order for a debtor to assert the defense of setoff under Section 558, the right must exist

under state law as a defense. State Bank of Florence v. Miller (In re Miller), 459 B.R. 657, 675

(B.A.P. 6th Cir. 2011) (quoting In re PSA, Inc., 277 B.R. 51, 54 (Bankr. D. Del. 2002)). Michigan

law, both statutory and case law, recognize the right to setoff. Id. at 675-76 (citing Mich. Comp.

Laws Ann. § 600.111; Walker v. Farmer Ins. Exch., 226 Mich. App. 75, 79, 572 N.W.2d 17, 19

(1997)). “In general, absent a statutory mandate authorizing a setoff in a particular circumstance,

setoff is a matter in equity.” Walker, 226 Mich. App. at 79.

                                      Recovery of Attorney Fees

       The Lease at issue is to be construed under Michigan law. (Lease, ¶ 26). The well-settled

law of contract interpretation requires the court to examine the plain language of the contract at

issue. If the contract language is clear, the court must enforce the contract according to its plain

meaning. Clevenger v. Allstate Ins. Co., 443 Mich. 646, 654, 505 N.W.2d 553, 557 (1993). A

party’s alleged “reasonable expectations” cannot supersede the unambiguous language of the

contract. Wilkie v. Auto-Owners Ins. Co., 469 Mich. 41, 60, 664 N.W.2d 776, 786 (2003). If the

contract is ambiguous, then the court should look to extrinsic evidence to determine the intent of the

parties. Id. at 786. If the court cannot determine the parties’ intent, the contract must be construed

against the drafter. Id. at 786-87.



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       “Generally, attorney fees are not recoverable as an element of damages unless expressly

allowed by statute, court rule, or common-law exception, or where provided by contract of the

parties.” Grace v. Grace, 253 Mich. App. 357, 370-71, 655 N.W.2d 595 (2002) (citations omitted).

This follows what has been characterized as the “American rule” concerning attorney fees. Popma

v. Auto Club Ins. Ass’n, 446 Mich. 460, 473-74, 521 N.W.2d 831 (1994) (analyzing the award of

attorney fees under statute and common law).

                                             Analysis

       As an initial matter, and as conceded by the Debtor and the Trustee at the hearing on June

28, 2017, some amount is owed to Saad as an administrative expense for unpaid rent and related

charges for the post-petition period. Continued occupancy by Debtor in the business property during

the post-petition period is an actual and necessary cost of preserving the estate and the Debtor’s

operations and assets. However, the Debtor and the Trustee assert a set off exists for damages

incurred due to Saad’s noncompliance with the lease terms. Specifically, Debtor attaches to its

response its state court Answer to Saad’s Complaint for unpaid rent and related charges, which

asserted affirmative defenses and a counterclaim against Saad. Also attached is the Affidavit of

Amee Patel, dated January 9, 2017, in support of the affirmative defenses and counterclaim, which

attests to “substantial damages to the leased premises, which Plaintiff failed to repair,” causing

Debtor “to incur significant expenses which should have been paid by the Plaintiff.” (Affidavit of

Amee Patel, ¶¶ 4 and 5, Exhibit B to Debtor’s Response). Amee Patel further asserted in the

Affidavit that “to repair the damage,” the Debtor “incurred costs in excess of $40,000.” (Affidavit

of Amee Patel, ¶ 6).




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       Per Saad’s counsel’s statements at the June 28, 2017 hearing, Saad claims $16,057.00 is

owed to it for post-petition rent and other charges as of that date.2 At this stage, the amount claimed

by Saad for rent and related charges is fairly certain as of June 28, 2017. The amount Debtor claims

as a setoff under Section 558 and applicable state law is claimed to be $40,000.00, but Saad does

not concede this amount, nor have sufficient proofs been presented to the Court as to the accuracy

of this amount claimed by Debtor for damages. Thus, the Court cannot make a determination as to

the amount of rent and related charges at this stage.

       With the record before it, the Court can, however, determine the issue of whether Saad is

entitled to attorney fees. The Court first addresses whether attorney fees are recoverable as an item

of damage in the Lease.

       Saad asserts two bases for the recovery of attorney fees. First, Saad directs this Court to the

language of the Lease. As agreed to by the parties, Paragraphs 16 and 17 of the Lease are the only

two possible applicable paragraphs. Reading both closely, the Court finds no specific allowance for

attorney fees stated in either paragraph. Saad specifically directs this Court to the following

provision in Paragraph 17 of the Lease, titled, “Default in Rent: Insolvency of Lessee,” stating “in

pertinent part that Lessor is entitled ‘ . . . payment of any rental or other charges due hereunder and

any other charges due Lessor. Lessee shall remain liable for any deficiency in rental which shall be

paid upon demand therefor to Lessor.” (Saad’s Post-hearing Brief, p. 2). The Court concludes it

would be an unwarranted stretch to find attorney fees are part of the damages connected for either

Debtor’s non-rent related default (Paragraph 16), or rent related default (Paragraph 17). The Court

will not read something into the Lease that is simply not there, keeping in mind the Lease under

Michigan law is construed against Saad, as the drafter.



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         It is unclear if rent is further accruing as Debtor asserted in its response, that it intended
to vacate the business property as of June 30, 2017.

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        At the June 28, 2017 hearing, Saad’s counsel pointed this Court to a decision of another

Bankruptcy Court in this District, In re Rojo One, LLC, Case No. 16-54348. The Court has

reviewed the docket in that case, and notes that it did involve a similar issue of a request for rent and

attorney fees. The motion was brought by a different lessor, who was represented by the same

counsel as Saad in this matter. That motion ultimately was resolved between the parties by

Stipulation and Order entered on April 19, 2017; thus, the Court concludes that decision was not

decided on the merits. Even if it had been decided by the Court on the merits, a review of the

subject lease in that case, Paragraph 13.12(C), contains a clear provision for the payment of

reasonable attorney fees in the event of default. The applicable language in Rojo One states:

        C. LEGAL EXPENSES: In case suit shall be brought for recovery of possession of
        the Demised Premises, for the recovery of rent or any other amount due under the
        provisions of this Lease, or because of the breach of any other covenant herein
        contained on the part of Tenant to be kept or performed, and a breach shall be
        established, Tenant shall pay to Landlord all expenses incurred therefor, including
        a reasonable attorney’s fee.

        In contrast, neither Paragraph 16 or 17 mention attorney fees or legal expenses as a possible

item of damages for a breach of the Lease. Lacking this language, Saad is not contractually entitled

to recover attorney fees and legal expenses.

        Second, Saad argues that 11 U.S.C. § 365(d)(3) provides a statutory basis for its attorney

fees. Section 365(d)(3) directs a trustee in the period prior to assumption or rejection of an

unexpired lease of nonresidential real property to “timely perform all the obligations of the debtor

. . . arising from and after the order for relief.” Because the Court has determined there is no

obligation of the Debtor under the Lease to pay attorney fees, there can be no statutory obligation

to do so under Section 365(d)(3).




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                                            Conclusion

       For the reasons stated in this Opinion, the Court concludes that Saad’s Motion to Compel

is denied to the extent of its request for attorney fees in connection with the Lease at issue. As to

the amount of rent claimed due and owing to date, the Court holds that any rent owing is an

administrative claim pursuant to 11 U.S.C. § 503(b)(1)(A), but that the record is presently

insufficient for the Court to make the final determination as to the amount owing because of the

potential setoff claimed by Debtor and the Trustee. The Court will enter an appropriate order and

schedule a status conference to address these open issues.

Not for Publication
Signed on September 08, 2017




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